Case: 4:17-cv-02455-CDP Doc. #: 95 Filed: 10/10/18 Page: 1 of 2 PageID #: 1241



                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

MALEEHA AHMAD, et al.,                      )
                                            )
            Plaintiffs,                     )
                                            )
      vs.                                   )         Case No. 4:17 CV 2455 CDP
                                            )
CITY OF ST. LOUIS, MISSOURI,                )
                                            )
            Defendant.                      )

                           MEMORANDUM AND ORDER

      Plaintiff Brian Baude moves to voluntarily dismiss his claims in this action

so that he may pursue a separate lawsuit seeking damages against defendant arising

out of the same events. Defendant objects, complaining that it will be prejudiced if

Baude is allowed to pursue a claim for damages against it now. After due

consideration of the procedural history of this case, I will grant Baude’s motion for

dismissal. Being subjected to a claim for damages is not the sort of undue

prejudice that should persuade the Court to deny the motion for voluntary

dismissal, particularly as discovery has only just begun in this case due to the

parties’ settlement efforts. Given that Pamela Lewczuk is already a putative

plaintiff in this case, I will also grant the motion to add her as a named plaintiff. I

encourage the parties to continue their settlement efforts in this case.

     Accordingly,
Case: 4:17-cv-02455-CDP Doc. #: 95 Filed: 10/10/18 Page: 2 of 2 PageID #: 1242



     IT IS HEREBY ORDERED that the motion to dismiss the claims of Brian

Baude without prejudice [91] is granted.


      IT IS FURTHER ORDERED that the motion to add party [92] is granted,

and Pamela Lewczuk is added to the second amended complaint and the docket

sheet as a named plaintiff in this case.


      IT IS FURTHER ORDERED that defendant is reminded that its Answer

to the Second Amended Complaint was due some time ago and has not been filed.




                                           CATHERINE D. PERRY
                                           UNITED STATES DISTRICT JUDGE

Dated this 10th day of October, 2018.




                                            2
